
DANAHY, Acting Chief Judge.
On a revocation of probation the trial court in sentencing the appellant departed upward more than one cell based on the appellant’s having had multiple violations of probation in this case. Subsequently, the Florida Supreme Court held that multiple violations of probation are not a proper reason for a guidelines departure. Williams v. State, 594 So.2d 284 (Fla.1992). Williams also held, however, that “where there are multiple violations of probation, the sentence may be successively bumped to one higher cell for each violation.” Therefore, the sentence in this case is set aside and the cause remanded for resen-tencing consistent with Williams. See also O’Keefe v. State, 595 So.2d 291 (Fla. 5th DCA 1992).
Reversed and remanded.
THREADGILL, J„ and CASE, JAMES R., Associate Judge, concur.
